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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION

TRACEY DAMRAU and DANIELLE OSHEA,
individually and on behalf of all

others similarly situated, )

Plaintiffs, )

)

y. ) Case No, 4:247¢%-2441

)

COLIBRI GROUP, INC. )

; )

Defendant(s). )

NOTICE OF INTENT TO USE
PROCESS SERVER
Plaintiffs
Comes now and notifies the court of the intent to use

(Plaintiff or Defendant)

ABC Legal

(name and address of process server)

(206) 521-9000

To serve: COLIBRI GROUP, INC.

in the
(name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the
requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.

10/25/2024 Elliot O. Jackson

(date) (attorney for Plaintiffs)

(attorney for Defendant)
